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 6
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 7   Carolyn A. Dye, Chapter 7 Trustee
 8
                         UNITED STATES BANKRUPTCY COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                               LOS ANGELES DIVISION
11
12   In re:                               ) Case No. 2:21-bk-13523 ER
13                                        )
     URBAN COMMONS, LLC,                  ) Chapter 7
14                                        )
               Debtor.                    )
15                                        ) Adv. No.
16   CAROLYN A. DYE, Chapter 7            )
     Trustee,                             ) COMPLAINT FOR (1) AVOIDANCE AND
17                                        ) RECOVERY OF FRAUDULENT
               Plaintiff,                 ) TRANSFERS, (2) PRESERVATION OF
18                                        ) FRAUDULENT TRANSFERS, AND (3)
     v.                                   ) DISALLOWANCE OF CLAIMS
19
                                          )
20   NEW OMNI BANK, NATIONAL              ) [11 U.S.C. §§ 105, 502, 544,
     ASSOCIATION                          ) 550, 551 Cal. Civ. Code §§
21                                        ) 3439.04, 3439.05, 3439.07,
               Defendant.                 ) 3439.09]
22
                                          )
23                                        ) Date: [TO BE SET BY SUMMONS]
                                          ) Time:
24                                        ) Place: Courtroom 1568
                                          ) Roybal Federal Building
25
                                          ) 255 E. Temple Street
26                                        ) Los Angeles, CA 90012
                                          )
27                                        )
28



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 1   TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY
 2   JUDGE:
 3        Plaintiff Carolyn A. Dye the Chapter 7 Trustee (the
 4   “Plaintiff”) for the bankruptcy estate of Urban Commons, LLC
 5   avers and complains, by way of this Complaint, as follows:
 6       STATEMENT OF JURISDICTION, NATURE OF PROCEEDING AND VENUE
 7     1. In accordance with the requirements of Local Bankruptcy
 8   Rule 7008-1, the Trustee hereby alleges that the claims for
 9   relief in this complaint constitute core proceedings under 28
10   U.S.C. § 157(b)(2)(A), (B), (F), (K), and (O) and are related to
11   the Debtor’s bankruptcy case because the outcome of such claims
12   for relief could have a significant effect on the estate.
13   Regardless of the core or non-core nature of the claims for
14   relief asserted herein, the Trustee consents to the entry of
15   final orders and judgment by the Bankruptcy Court to the maximum
16   extent permitted by applicable law. Defendant New Omni Bank,
17   National Association (“Defendant”) is hereby notified that
18   Federal Rules of Bankruptcy Procedure (“FRBP”) 7008 and 7012(b)
19   require the defendant to plead whether each claim for relief
20   asserted against the defendant is core or non-core and, if non-
21   core, whether consent is given to the entry of final orders and
22   judgment by the Bankruptcy Court.
23     2. This Court has jurisdiction over this adversary proceeding
24   pursuant to 28 U.S.C. §§ 151, 157, and 1334.
25     3. This adversary proceeding is brought pursuant to Rule
26   7001, et seq. of the FRBP and 11 U.S.C. §§ 105, 502, 544, 547,
27   548, 550 and 551 and Local Rules and Orders of the United States
28   District Court for the Central District of California governing



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 1   the reference and conduct of proceedings arising under or
 2   related to cases under Title 11 of the United States Code,
 3   including General Order No. 13-05, dated July 1, 2013.
 4     4. Venue in this Court is proper pursuant to 28 U.S.C. § 1409
 5   as this adversary proceeding arises under and in connection with
 6   In re Urban Commons, LLC a chapter 7 bankruptcy case pending in
 7   the United States Bankruptcy Court, Central District, Los
 8   Angeles Division (the “Court”) as Case No. 2:21-bk-13523 ER (the
 9   “Bankruptcy Case”).
10     5. Plaintiff consents to entry of final orders or judgment by
11   the Court.
12                     RELEVANT BACKGROUND, PARTIES, AND
13                ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
14     6. The Bankruptcy Case was initiated by the filing of an
15   Involuntary Petition against Urban Commons, LLC (“Debtor”) on
16   April 29, 2021 (the “Petition Date”).
17     7. On June 24, 2021, the Order for Relief was entered in this
18   case.
19     8. On June 24, 2021, the United States Trustee appointed
20   Carolyn A. Dye, as the Chapter 7 Trustee.
21     9. Plaintiff brings this action solely in her capacity as
22   chapter 7 trustee for the Debtor’s estate and its respective
23   creditors. To the extent that Plaintiff hereby asserts
24   claims under 11 U.S.C. § 544(b), Plaintiff is informed and
25   believes, and on that basis alleges thereon, that there exists
26   in this case one or more creditors holding unsecured claims
27   allowable under 11 U.S.C. § 502, or that are not allowable only
28   under 11 U.S.C. § 502(e) who could have avoided the respective



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 1   transfers or obligations under California or other applicable
 2   law before the Petition Date.
 3     10.     Plaintiff was appointed as chapter 7 trustee after the
 4   Petition Date. As a result, Plaintiff does not have personal
 5   knowledge of the facts alleged in this Complaint that occurred
 6   prior to her appointment and, therefore, alleges all those facts
 7   on information and belief. Plaintiff reserves the right to amend
 8   this Complaint to allege additional claims against defendants
 9   and to challenge and recover transfers made to or for the
10   benefit of defendants in addition to those transfers alleged in
11   this Complaint.
12     11.     The Trustee is informed and believes and based thereon
13   alleges that Defendant New Omni Bank, National Association
14   (“Defendant”) is a national bank formed in California that is
15   doing business in this state and is subject to the jurisdiction
16   of this Court.    At all relevant times, the Defendant was the
17   initial transferee of the transfers alleged herein or was the
18   party for whose benefit the transfers were made and/or an
19   immediate or mediate transferee of such initial transferee.
20     12.     With respect to the Defendant, during the period prior
21   to the Petition Date, the Debtor made approximately 1 payments
22   to the Defendant in the total aggregate amount of $41,213.08
23   during the four-year period prior to the Petition Date (the
24   “Four-Year Transfers”) See Exhibit “1” attached hereto.
25   / / /
26   / / /
27   / / /
28   / / /



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 1                             FIRST CLAIM FOR RELIEF
 2    (Avoidance and Recovery of Fraudulent Transfers Pursuant to 11
 3           U.S.C. §§ 544(b)and 550 and California Civil Code §§
 4                           3439.04(a)(2) and 3439.07)
 5     13.      Plaintiff realleges and incorporates herein by
 6   reference each and every allegation contained in paragraphs 1
 7   through 12 as though set forth in full.
 8     14.      Plaintiff is informed and believes, and on that basis
 9   alleges thereon, that the Debtor made the Four-Year Transfers to
10   or for the benefit of the Defendant.
11     15.      Plaintiff is informed and believes, and on that basis
12   alleges thereon, that the Debtor made the Four-Year Transfers
13   (a) without receiving any reasonably equivalent value in
14   exchange for the transfers, and the Debtor either (i) was
15   engaged or was about to engage in a business or a transaction
16   for which the remaining assets of the Debtor were unreasonably
17   small in relation to the business or transaction, or (ii)
18   intended to incur, or believed or reasonably should have
19   believed that it would incur, debts beyond its ability to pay as
20   they became due.
21     16.      Plaintiff is informed and believes, and based thereon
22   alleges, that, at all relevant times, the Four-Year Transfers
23   were voidable under California Civil Code §§ 3439.04(a)(2) and
24   3439.07 by one or more creditors who held and hold unsecured
25   claims against the Debtor that were and are allowable under 11
26   U.S.C. § 502, or that were and are not allowable only under 11
27   U.S.C. § 502(e). These creditors include those creditors who are
28   listed in the Debtor’s schedules as holding undisputed claims or



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 1   who have filed proofs of claim against the Debtor’s estate.
 2     17.     Plaintiff is informed and believes, and on that basis
 3   alleges thereon, that, based on the foregoing, Plaintiff may
 4   avoid the Four-Year Transfers and recover the equivalent value
 5   of said fraudulent transfers for the benefit of the Debtor’s
 6   estate from Defendant pursuant to 11 U.S.C. §§ 544(b) and 550.
 7                           SECOND CLAIM FOR RELIEF
 8             (Avoidance and Recovery of Voidable Transfers
 9             Pursuant to 11 U.S.C. §§ 544(b) and 550(a) and
10             California Civil Code §§ 3439.05 and 3439.07)
11     18.     The Trustee re-alleges and incorporates by this
12   reference each and every allegation contained in paragraphs 1
13   through 17, inclusive, of this Complaint as if set forth fully
14   herein.
15     19.     The Trustee is informed and believes, and on that
16   basis alleges thereon, that the Debtor made the Four-Year
17   Transfers to or for the benefit of Defendant without receiving a
18   reasonably equivalent value in exchange for the Four-Year
19   Transfers because the Four-Year Transfers were made for no
20   consideration.
21     20.     The Trustee is informed and believes, and on that
22   basis alleges thereon, that the Debtor was insolvent at the time
23   of the Four-Year Transfers or became insolvent as a result of
24   the Four-Year Transfers in that the sum of the Debtor’s debts
25   exceeded all of the Debtor’s assets.
26     21.     The Four-Year Transfers constitute voidable transfers
27   under 11 U.S.C. §§ 544 and 550 and California Civil Code §§ 3439
28   et seq., and therefore, are avoidable by the Trustee.



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 1                            THIRD CLAIM FOR RELIEF
 2               [For Recovery and Preservation Of Transfer
 3                           11 U.S.C. §§ 550 and 551]
 4     22.     Plaintiff realleges and incorporates herein by
 5   reference the allegations in paragraphs 1 through 22 of this
 6   Complaint, inclusive, as though fully set forth herein.
 7     23.     Plaintiff is informed and believes, and based thereon
 8   alleges that Defendant is the initial transferee of the Four—
 9   Year Fraudulent Transfers, and to the extent it was not the
10   initial transferee, it was the immediate or mediate transferee
11   of the initial transferee of the Four—Year Fraudulent Transfers.
12      24.    Upon avoidance of the Four—Year Fraudulent Transfers,
13   as alleged herein, Plaintiff is entitled to recover the Four—
14   Year Fraudulent Transfers, together with interest at the
15   applicable rate from the date of the Four—Year Fraudulent
16   Transfers from Defendant as the initial transferee, the
17   immediate or mediate transferee of such initial transferee, or
18   as the entity for whose benefit the Four-Year Transfers were
19   made, pursuant to 11 U.S.C. § 550 and to preserve them pursuant
20   to 11 U.S.C. § 551.
21                            FOURTH CLAIM FOR RELIEF
22             [For Disallowance of Claim - 11 U.S.C. § 502]
23     25.     Plaintiff realleges and incorporates herein by this
24   reference the foregoing allegations in paragraphs 1 through 25
25   of this Complaint, inclusive, as though fully set forth herein.
26     26.     The Four-Year Transfers are recoverable from Defendant
27   pursuant to 11 U.S.C. §550, and Defendant has not paid the
28   amount of the Four—Year Fraudulent Transfers to the Plaintiff.



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 1     27.      Based on the foregoing, any and all claims of the
 2   Defendant against the Debtor must be disallowed pursuant to 11
 3   U.S.C. § 502(d).
 4                            RESERVATION OF RIGHTS
 5        28.   Plaintiff reserves the right to amend this Complaint
 6   to include, among other things, (i) further information
 7   regarding the Four—Year Fraudulent Transfers, (ii) additional
 8   transfers, (iii) modifications of and revisions to Defendant’s
 9   name, (iv) additional defendants, and (v) additional claims for
10   relief, that may become known to Plaintiff at any time during
11   this adversary proceeding through formal discovery or otherwise,
12   and for the amendments to relate back to this Complaint.
13        29.   Plaintiff reserves the right to bring all other claims
14   for relief that Plaintiff may have against the Defendant, on any
15   and all grounds, as allowed under the law or in equity.
16   Additionally, nothing contained in this Complaint shall be
17   construed as a waiver of Plaintiff’s right to object to any
18   proof of claim filed by the Defendant. Accordingly, Plaintiff
19   reserves the right to object, on any and all grounds, to any
20   proof of claim filed by the Defendant.
21                               PRAYER FOR RELIEF
22        WHEREFORE, the Plaintiff prays for judgment as follows:
23        A. On the First and Second Claims for Relief: A judgment in
24   favor of Plaintiff and against Defendant (1) avoiding the Four-
25   Year Transfers, (2) entitling Plaintiff to recover from
26   Defendant the Four-Year Transfers or the value thereof, for the
27   benefit of the estate, and (3) entitling Plaintiff to recover
28   from Defendant attorneys’ fees and expenses incurred in



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 1   connection with the claims asserted herein to the extent
 2   allowable under applicable law;
 3          B. On the Third Claim for Relief: A judgment that Plaintiff
 4   is entitled to recover and preserve the Four-Year Transfers, or
 5   the value thereof, from Defendant under 11 U.S.C. §§ 550 and
 6   551;
 7          C. On the Fourth Claim for Relief: A judgment in favor of
 8   Plaintiff and against Defendant disallowing any and all claims
 9   of the Defendant against Debtor;
10          D. On All Claims for Relief: For such other and further
11   relief as the Court deems just and proper.
12
13   DATED: June 16, 2023                       PEÑA & SOMA, APC
14
15                                      By: /s/ Leonard Peña
                                             LEONARD PEÑA
16                                           JULIE A. SOMA
                                             Attorneys for Plaintiff
17                                           Carolyn A. Dye,
18                                           Chapter 7 Trustee

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                EXHIBIT “1”
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